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                IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________
                                           :
In re:                                     :
                                           : Chapter 11
VIP PHARMACY, INC.                         :
                                           : Bankruptcy No. 21-10428(ELF)
                        Debtor.            :
                                           :
                                           : Hrg. Date: July 14, 2021
                                           : Time: 11:00 am
                                           : 900 Market Street, 2d Floor
                                           : Courtroom No. 1
__________________________________________:  Philadelphia, PA 19107



                 MOTION TO DETERMINE VALIDITY, PRIORITY,
               AND EXTENT OF LIENS OR INTERESTS IN PROPERTY
                 OF THE ESTATE PURSUANT TO 11 U.S.C. §506(a)
             AND TO VOID ANY SUCH APPLICABLE CLAIMED LIEN OR
               SECURITY INTEREST PURSUANT TO 11 U.S.C. §506(d)

       VIP Pharmacy, Inc., the Debtor and Debtor in Possession, by and through its legal

counsel, Offit Kurman, P.C. brings this Motion seeking to determine the validity, priority, and

extent of any and all liens in or on property of the Estate of the Debtor, to void any such lien to

the extent it is determined to be unsecured, and for such other and further relief as this Court

finds just and proper, and in support thereof aver as follows:

       1.            This Motion is presented on behalf of the Debtor, VIP Pharmacy, Inc.

(“Debtor”) having instituted this bankruptcy proceeding upon the filing of a Voluntary Petition

under Subchapter V of Chapter 11 of Title 11 of the United States Code on February 23, 2021

(“Petition Date”).

       2.      The Debtor remains in possession of its assets and control of its financial affairs

pursuant to the authority set forth in 11 U.S.C. §1107 and 1108.



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       3.        At the time of filing the Bankruptcy, all legal and equitable interests of the Debtor

in property is property of the Estate as such term is defined under 11 U.S.C. §541.

       4.        The Debtor has filed mandated Schedules with this Bankruptcy Court identifying

the assets, liabilities, and claims outstanding against the Debtor and its Estate. In addition, the

Debtor had requested, and the Bankruptcy Court entered an Order dated April 7, 2021 establishing

a Deadline for filing all claims and interests against the Estate. The Bankruptcy Court set May 21,

2021 as the date for filing such claims. [ECF 58].

       5.        The Bankruptcy Schedules and certain Proofs of Claim which have been filed

with the Bankruptcy Court detail creditors who have alleged to hold a secured claim against

certain property of the Bankruptcy Estate, whom have filed a Proof of Claim with this

Bankruptcy Court alleging to hold a claim secured against the assets of the Estate, or in the

alternative, who previously held a claim secured against assets of the Estate, prior to the

Bankruptcy filing which, according to the filed records for recording such interests in the

Commonwealth of Pennsylvania have not or had not yet satisfied such lien interest despite such

claim having been satisfied in full.

                            Respondents to relief sought by this Motion

       6.        Appended as Exhibit 1 to this Motion is a Financing Agreement Lien search of

recorded UCC-1 Lien filings against the Debtor in the Commonwealth of Pennsylvania as of

April 13, 2021. This UCC Lien search details recorded liens filed against the Debtor as of the

Petition Date.

       7.        Respondent Woori American Bank of 330 Fifth Avenue, 3rd Floor, New York,

New York has filed three separate claims against the Debtor. Proof of Claim No. 6 details an

alleged secured claim in the amount of $627, 225 as of April 12, 2021 owed by the Debtor



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representing the balance of monies due under a certain promissory note originally dated July 16,

2016 in the face amount of $1,100,000. The original loan was subject to a separate Security

Agreement in which the Debtor pledged certain of its assets as collateral security for the

repayment of the loan. The Security Interest is allegedly perfected through the filing of a UCC

Financing Statement filed with the Secretary for the Commonwealth of Pennsylvania on July 19,

2016, Filing No. 2016071901441. A second Financing Statement regarding additional assets

was filed on behalf of Woori American Bank on July 21, 2021 under filing No. 2016072101115.

At the time of recording these lien interests a prior perfected claim against some or all of the

same assets was recorded and held by Cardinal Health of 7000 Cardinal Place, Dublin, Ohio,

43017, however, Cardinal Health executed and entered a UCC Subordination Agreement dated

July 13, 2016 subordinating its then existing lien interest to the alleged secured interests of

Woori American Bank. A true and correct copy of the subject Subordination Agreement is

appended to this Motion as Exhibit 2. On April 2, 2021, Woori American Bank filed a

Continuation Statement with the Secretary of the Commonwealth further extending its alleged

recorded lien interest under Filing No. 2021040200793.

       8.      Respondent Woori American Bank filed a separate Proof of Claim No. 5 alleging

a further secured claim in the amount of $152,781.36 as of April 12, 2021 based on a guaranty

agreement entered by the Debtor dated December 18, 2017. The Guaranty Agreement is further

supported by a separate Security Agreement in which the Debtor supposedly pledged certain of

its assets as collateral security for the repayment of a loan issued by Woori American Bank to an

entity by the name of Pennymed Pharmacy, LLC. The Security Interest is allegedly perfected

through the filing of a UCC Financing Statement filed with the Secretary for the Commonwealth




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of Pennsylvania on December 18, 2017 under Filing No. 2017121801776. Pennymed

Pharmacy, LLC is no longer operating, is out of business and has no remaining assets.

       9.      Respondent Woori American Bank filed a third Proof of Claim No. 5 alleging a

further secured claim in the amount of $203,211.96 as of April 12, 2021 based on a guaranty

agreement entered by the Debtor dated December 18, 2017. The Guaranty Agreement is further

supported by a separate Security Agreement in which the Debtor supposedly pledged certain of

its assets as collateral security for the repayment of a loan issued by Woori American Bank to an

entity by the name of Pharmacy of Newtown, LLC. The Security Interest is allegedly perfected

through the filing of a UCC Financing Statement filed with the Secretary for the Commonwealth

of Pennsylvania on December 18, 2017 and assigned Filing No. 2017121801791. Pharmacy of

Newtown, LLC is no longer operating, is out of business, and has no remaining assets.

       10.     The aggregate amount of alleged secured claims claimed by Woori American

Bank totals $983,217, however the Debtor has and continues to make monthly required

payments on account of this indebtedness regularly reducing the balance outstanding to Woori

American Bank.

       11.     Respondent H.D. Smith, LLC of 3063 Fiat Avenue, Springfield, Illinois has filed

Proof of Claim No. 9 against the Debtor claiming to hold a secured claim in the amount of

$2,507,237.93 based on the purported existence of two Promissory Note Agreements. The

purported secured claim or claims are subject to a separate Security Agreement pledging certain

assets of the Debtor as collateral security for the repayment of the claimed indebtedness and

allegedly perfected by a recorded UCC Financing Statement issued to H.D. Smith Wholesale

Drug Company, Inc. of Kearney, New Jersey filed with the Secretary of the Commonwealth on

October 9, 2018 under Filing No. 2018100901408. On March 12, 2019, H.D. Smith Wholesale



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Drug Company, Inc. amended the purported UCC Financing Statement conveying the interest to

Amerisource Bergen Drug Company of 1300 Morris Drive, Chesterbrook, Pennsylvania 19087.

       12.    Respondent Burlington Drug Company, Inc. of 91 Catamount Drive, Milton,

Vermont 05468 purportedly claims to hold an alleged secured claim against the Debtor which

claim is subject to a filed UCC Financing Statement with the Secretary of the Commonwealth of

Pennsylvania on January 18, 2019 by Filing No. 2019011801557. Burlington Drug Company

has not filed a Proof of Claim against the Debtor nor has the Debtor listed Burlington Drug

Company as a creditor. The Debtor does not believe it owes any monetary obligation to

Burlington Drug Company.

       13.    Respondent Rochester Drug Cooperative, Inc. of 50 Jet View Drive, Rochester,

New York has filed Proof of Claim No. 1 against the Debtor claiming to hold a secured claim in

the amount of $84,392.34 based on a purported inventory production agreement. Rochester

Drug Cooperative, Inc. is believed to be in its own pending bankruptcy proceeding. The Proof of

Claim filed in this case has been submitted by Bruce W. Bieber, Esquire of the Kurzman,

Eisenberg Corbin & Lever, LLP law firm of 1 N. Broadway, 12th Floor, White Plains, New York

10601. The purported secured claim or claims are allegedly perfected by a recorded UCC

Financing Statement issued to Rochester Drug Cooperative, Inc. filed with the Secretary of the

Commonwealth on February 13, 2019 under Filing No. 2019021301229.

       14.    Respondent HealthSource Distributors, LLC of 7200 Rutherford Road, Suite 150,

Baltimore Maryland 21244 has filed Proof of Claim No. 4 against the Debtor claiming to hold a

secured claim in the amount of $13,788.55 based on a purported Customer Agreement and Credit

Application. The Proof of Claim filed in this case on behalf of HealthSource Distributors, LLC

has also been submitted and filed by Bruce W. Bieber, Esquire of the Kurzman, Eisenberg



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Corbin & Lever, LLP law firm of 1 N. Broadway, 12th Floor, White Plains, New York 10601.

The purported secured claim or claims are allegedly perfected by a recorded UCC Financing

Statement issued to HealthSource Distributors, LLC filed with the Secretary of the

Commonwealth on March 20, 2020 under Filing No. 2020032000619.

       15.     Respondent U.S. Small Business Administration of 2 North Street, Suite 320,

Birmingham, Alabama 35203 purportedly claims to hold an alleged secured claim against the

Debtor which claim is subject to a filed UCC Financing Statement with the Secretary of the

Commonwealth of Pennsylvania on June 30, 2020 by Filing No. 2020063002866. The United

States Small Business Administration has not filed a separate Proof of Claim against the Debtor

nor has the Debtor listed the Small Business Administration as a creditor.

       16.     Respondent McKesson Corporation of One John Henry Drive, Robbinsville, New

Jersey 08691 has filed Proof of Claim No. 10 with the Bankruptcy Court claiming an unsecured

claim in the amount of $4835. The Lien search obtained by the Debtor reflects that McKesson

Corporation filed a UCC Financing Statement with the Secretary of the Commonwealth of

Pennsylvania on October 6, 2020 by Filing No. 20201006001422. Debtor believes all liabilities

to McKesson Corporation are fully paid and no outstanding claim exists and as a result does not

hold a secured claim.

       17.     Respondent Cardinal Health 110, LLC has filed Proof of Claim No. 8 against the

Debtor claiming to hold a secured claim in the amount of $1836.26 and an unsecured claim in

the amount of $193,404.06 based on the purported right of set off pursuant to 11

U.S.C.§362(d)(1). The Lien search obtained by the Debtor reflects that Cardinal Health East

110, LLC as Agent filed a UCC Financing Statement with the Secretary of the Commonwealth

of Pennsylvania on December 21, 2020 by Filing No. 2020122100051. The Proof of Claim filed



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in this case on behalf of Cardinal Health 110, LLC has been submitted and filed by Erin

Gapinski, Esquire as Senior Counsel for Cardinal Health 110, LLC , 7000 Cardinal Place Dublin,

Ohio 43017.



                                     Jurisdiction and Venue

       18.     The United States District Court has jurisdiction of this adversary proceeding

pursuant to 28 U.S.C. §1334(b) as a civil proceeding arising under title 11, and that pursuant to

28 U.S.C. §157(a) and a Standing Order of the U.S. District Court for the Eastern District of

Pennsylvania dated July 25, 1984 and modified by Standing Order dated November 8, 1990 has

referred all cases under Title 11 and all proceedings arising under Title 11 to the Bankruptcy

Judges in this District. This is a core proceeding in the Bankruptcy Court pursuant to 28

U.S.C.§157(b)(2)(A), (B), and (K).

       19.     Venue is proper in this Bankruptcy Court pursuant to 28 U.S.C. §1409.

       20.     The statutory provisions upon which this case is based includes 11 U.S.C.

§506(a), §506(d), Bankruptcy Rule 7001(2), to the extent necessary 11 U.S.C. §502 regarding

allowance of certain claims and Bankruptcy Rules 3007, 3012, 3013 and 9014.



                                         Basis for Relief

       21.     The Debtor operates a single location neighborhood retail pharmacy at 7737 New

Falls Road in Levittown, Bucks County, Pennsylvania. The Pharmacy serves and is open to the

general public providing and dispensing prescription medicines and sales of other health related

over the counter products, goods and services including some durable medical equipment.




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       22.     During the course of its business operations which started in 2006, the Debtor has

borrowed monies from various lending institutions and separately from drug vendor providers to

assist in the operation of its business. As stated above Respondents filed various UCC Financing

Statements against the Debtor and property of the Debtor in an effort to secure the repayment of

alleged obligations believed outstanding to each respective creditor.

       23.     As of the Petition Date the assets of the Debtor were limited to the cash,

prescription drugs and stock inventory, and monies due to the Debtor for prior sales of

prescription medications. The Debtor also has some limited store fixtures and shelving used in

the operation of the pharmacy, minimal equipment, and also has a security deposit held by its

landlord under its commercial real estate lease. While the cash in its business operating account

is regularly used to pay operating expenses of the business on a daily basis, the normal average

balance in the account totals approximately $20,000. The normal inventory levels for both

prescription medications and general inventory normally totals approximately $150,0000 and the

Debtor has approximately $200,000 in collectible outstanding receivables (Insurance

Reimbursement Claims Receivable) on any given day. The Landlord holds a Security Deposit in

the amount of $6500. The Store fixtures, shelving and miscellaneous equipment have a book

value of approximately $13,500. All total the Debtor believes the current value of its assets is

$390,000.

       24.     Woori American Bank’s alleged secured claims are partially secured by a valid

lien it holds and was properly perfected to the extent of the value of the Debtor’s assets as of the

Petition Date. The value of the Debtor’s assets total $390,000 as of the Petition Date. The

balance of claims alleged due to Woori American Bank above the value of the Debtor’s assets is

and by the relief sought by this Motion the Debtor seeks to render the balance of the claim an



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unsecured claim to the extent that the value of such creditor’s interest or the amount subject to

setoff is less than the amount of such claim as may be allowed. 11 U.S.C.§506(a).

       25.     The alleged or purported secured claims of all other Respondents to this Motion

claims are rendered unsecured since no value remains in any of the debtor’s assets. The Debtor’s

asset value is not sufficient to fully secure the entirety of the Woori American Bank alleged

claim and therefore is/was no remaining vlaue or interests in Debtor’s property to which any of

the Subordinated alleged secured creditors lien claims may attach. Their claims are wholly

unsecured, and each Subordinated Respondent claim must be rendered unsecured pursuant to 11

U.S.C. §506(a). The Subordinated Respondents include H.D. Smith Wholesale Drug Company,

Inc. and its successor in interest Amerisource Bergen Drug Corporation, Burlington Drug

Company, Inc., Rochester Drug Cooperative, Inc., Healthsource Distributors, LLC, United States

Small Business Administration, McKesson Corporation, and Cardinal Health 110, LLC

(“Subordinated Respondents”).

       26.     The Subordinated Respondents only hold alleged liens claims against Debtor’s

property that is not an allowed secured claim and therefore each such lien is void pursuant to 11

U.S.C. §506(d).

       WHEREFORE, the Debtor respectfully requests this Court enter an Order (1) reducing

the allowed secured claim of Woori American Bank to the sum of $390,000 and determining the

balance of the claim amount outstanding, after credit for all post petition payments made, is an

allowed unsecured claim against the Debtor’s Estate; (2) the alleged secured claims of all




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Subordinated Respondents are rendered allowed unsecured claims; (3) any lien claim of the

Subordinated Respondents is voided or otherwise stricken of record against any and all property

of the Debtor; and (ii) grant such other and further relief as is just and proper under the

circumstances warranted by this Motion.



                                                       Respectfully submitted,

                                                       OFFIT KURMAN, P.C.

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                                                       Counsel for the Debtor and
                                                       Debtor in Possession, VIP Pharmacy, Inc.



Dated: June 16, 2021




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